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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 1:21-CV-21537-JAL

  ROY S. SHIVER, JR.,

                  Plaintiff,
  v.

  THE CITY OF HOMESTEAD, FLORIDA,
  et al.,

              Defendants.
  _________________________________________/

                        HOMESTEAD DEFENDANTS’ MOTION TO
               DISMISS SECOND AMENDED COMPLAINT WITH PREJUDICE
          Defendants, City of Homestead (“City”), Tom Mead (“Det. Mead”), and Ricky Rivera

  (“Det. Rivera”) (collectively, “Homestead Defendants”), pursuant to Federal Rules of Civil

  Procedure 12(b)(6), file this Motion to Dismiss the Second Amended Complaint [ECF No. 32],

  filed by Plaintiff, Roy S. Shiver, Jr. (“Plaintiff”), and state as follows: 1

                                               OVERVIEW

          Plaintiff’s Second Amended Complaint (“Complaint”) follows the Court’s order granting

  the Homestead Defendants’ motion to dismiss [ECF No. 21] (as well as the motion to dismiss filed

  by Defendant, George Gretsas [ECF No. 22]) in part. Specifically, the Court previously found that

  Plaintiff’s Amended Complaint 2 [ECF No. 1] was an improper, shotgun pleading and directed



  1
          Plaintiff’s prior pleadings asserted claims against Chief of Police Alexander Rolle. The
  Second Amended Complaint, however, does not assert any cause of action against him or
  otherwise identify him as a defendant. See, e.g., ECF No. 32, ¶ 2. Thus, Plaintiff appears to have
  dismissed Chief Rolle (though he has not done so formally via a notice of dismissal). In abundance
  of caution, however, Chief Rolle adopts the arguments raised herein.
  2
         Plaintiff’s Amended Complaint was his first pleading filed, following his voluntary
  severance of claims from William Rea, et al. v. City of Homestead et al., Case No. 21-cv-20488-


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  Plaintiff to amend his pleading, explicitly cautioning that Plaintiff may make “a final amendment

  to cure all deficiencies, if they are able to do so.” ECF No. 31 (emphasis in original).

          Plaintiff’s operative pleading now asserts Section 1983 claims against the Homestead

  Defendants, based on First Amendment violation against Det. Rivera (Count I) and Det. Mead

  (Count II) (in relevant part to this Motion). He also continues to maintain a Monell claim against

  the City (Count V). Although Plaintiff has appeared to have cured the shotgun pleading issue, he

  has still failed to cure the other deficiencies identified in the Homestead Defendants’ prior motion

  to dismiss [ECF No. 21], namely, to state a claim pursuant to Section 1983 against the City and

  Detectives Rivera and Mead. In addition, the revised pleading clearly reflects that the claims

  against Detectives Rivera and Mead are barred by qualified immunity.

          Accordingly, in light of Plaintiff’s multiple opportunities to state a claim and the Court’s

  explicit warning that the Complaint, as amended, would be Plaintiff’s final opportunity to state a

  claim, dismissal with prejudice is merited.

                                             ARGUMENT

     I.      PLAINTIFF FAILS TO STATE A FIRST AMENDMENT CLAIM AGAINST
             DETECTIVES RIVERA AND MEAD.

          Counts I and II against Detectives Rivera and Mead, respectively, are Section 1983 claims

  for First Amendment violations based on an alleged “improper investigation of Plaintiff in

  retaliation” for Plaintiff’s protected activities. See ECF No. 32, subheadings of Counts I and II.




  KMM (“Original Action”). The Original Action included four other plaintiffs: William Rea,
  Ednamarie Hernandez, and James and Vanessa McDonough. The Original Action remains
  pending, and William Rea is the sole remaining plaintiff. See Original Action, ECF No. 22. In
  addition to Plaintiff, the other three plaintiffs in the Original Action also severed their claims from
  the Original Action and initiated separate lawsuits. See James & Vanessa McDonough v. City of
  Homestead, et al., Case No. 21-cv-21538-KMM; Endamarie Hernandez v. City of Homestead, et
  al., Case No. 21-cv-21536-MGC.
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  Specifically, Plaintiff alleges that he engaged in First Amendment speech by writing Facebook

  posts in 2017, criticizing “significant construction projected” and “other government abuse in

  Homestead,” and against in 2019 about “the defamation and police harassment” that he and his

  family allegedly felt from the City’s Police Department. ECF No. 32, ¶¶ 26, 27. Plaintiff also

  announced his campaign for City mayor in 2019, and his campaign included criticism of the

  Homestead government and management. ECF N. 32, ¶¶ 28, 59, 69.

          Plaintiff claims that, as a result of his speech, Detectives Rivera and Mead

          retaliated against Plaintiff by conducting a retaliatory and clandestine investigation
          without a legitimate law enforcement purpose, keeping it off the books, but
          provided the results of this investigation which included false and/or misleading
          statements and/or arrangements of documents to his supervisor Gretsas.
          Defendant[s Rivera and Mead were] directed to perform this improper investigation
          by Defendant Gretsas and/or Chief Rolle, and Defendant[s Rivera and Mead were]
          aware that the Dossier [they] helped construct contained false and misleading
          material and would be used to harm and defame Plaintiff.

  ECF No. 32, ¶¶ 60, 70. Based on these alleged facts, Plaintiff claims the Detectives violated his

  First Amendment rights. However, a plain reading of the Complaint reflects Plaintiff has failed to

  state a claim against them.

          To state a First Amendment claim,

          A plaintiff must establish a “causal connection” between the government
          defendant’s “retaliatory animus” and the plaintiff’s “subsequent injury.” It is not
          enough to show that an official acted with a retaliatory motive and that the plaintiff
          was injured—the motive must cause the injury. Specifically, it must be a “but-for”
          cause, meaning that the adverse action against the plaintiff would not have been
          taken absent the retaliatory motive.
  Nieves v. Bartlett, 139 S. Ct. 1715, 1722 (2019) (citation omitted); accord DeMartini v. Town of

  Gulf Stream, 942 F.3d 1277, 1289 (11th Cir. 2019) (“[I]f the defendant would have taken the same

  action had there not also been a retaliatory animus motivating that conduct[,] then the defendant

  is not liable.”).



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         Of noteworthy importance—and fatal to the First Amendment claim—is what Plaintiff

  does not allege against Detectives Rivera and Mead.         He does not allege that either detective

  created or authored any false or misleading material about him. 3 See generally, ECF No. 32. He

  does not allege any facts about how the investigation lacked a “legitimate law enforcement

  purpose.” Id. He does not allege that either detective published any false or misleading material

  about him. Id. And, critically, he does not allege that Detective Rivera or Detective Mead acted

  with retaliatory motive in conducting their “investigation,” as he cannot. Id. Plaintiff alleges

  the investigation was conducted at the direction of Gretsas, but nowhere does he allege that either

  detective acted on said “direction” with a retaliatory animus or motive. Nieves, 139 S. Ct. at 1722

  (requiring a retaliatory motive to state a claim); Gudger v. Pugh, No. 3:16CV98/RV/EMT, 2018

  WL 3463311, at *4 (N.D. Fla. June 19, 2018), report and recommendation adopted, No.

  3:16CV98/RV/EMT, 2018 WL 3458486 (N.D. Fla. July 18, 2018) (“[B]road, conclusory

  allegations of retaliation are insufficient to state a claim under section 1983.”).

         Finally, absent from the Complaint are any facts connecting the detectives’ alleged

  investigation of Plaintiff to any damages he purportedly suffered. Indeed, not only was the

  information allegedly uncovered by the detectives true (see fn. 3, supra), but Plaintiff himself

  alleges the detectives’ investigation was “clandestine.” ECF No. 32, ¶¶ 31-34, 59, 69. How

  Plaintiff could suffer damages based on actions he himself alleges were done in secret is wholly

  unclear. The law is clear that uncovering news—a year (or, in some instances, more than a year)



  3       In fact, none of information and/or investigations allegedly gathered or conducted by
  Detectives Rivera and Mead is false or misleading. See ECF No. 32, ¶ 31 (investigations of court
  records in Tennessee and North Carolina); ¶¶ 32-33 (following and photographing Plaintiff and
  his associates); ¶ 34 (Det. Rivera’s alleged access of DAVID/NCIC/FCIC databases); ¶ 35 (Det.
  Mead’s receipt of suspicious banking activing reports regarding Plaintiff). There is no information
  or aspect of the Detectives’ alleged investigation in the Complaint that Plaintiff claims false or
  misleading.
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  after engaging in protected speech—about an investigation is too trivial and minor to chill or deter

  the exercise of constitutionally protected speech. See Naucke v. City of Park Hills, 284 F.3d 923,

  927–28 (8th Cir. 2002) (holding the city council’s offensive, unprofessional, and inappropriate

  actions and conduct—including conducting a public audit of an organization the plaintiff ran,

  publicly scolding her at city council meetings, publicly calling her names, and circulating false

  information about her family—did not constitute adverse action for purposes of First Amendment

  retaliation claim); Joyner v. City of Atlanta, No. 1:16-cv-1780, 2018 WL 1442931, at *9 (N.D. Ga.

  Feb. 23, 2018) (dismissing First Amendment claim, in part, because the plaintiff did not present

  nor did the court locate “any case law supporting the notion that being subjected to [] an

  [unjustified] investigation was materially adverse or would be enough to dissuade an employee

  from exercising his First Amendment rights.” (collecting cases)).          Stated differently, the

  investigation, which was admittedly unknown to Plaintiff for a couple of years and resulted in no

  adverse consequences, does not satisfy the adverse action prong of his claim.

         Plaintiff’s own allegations, moreover, reflect the fact that his speech was not chilled as a

  result of any “clandestine” investigation. Specifically, the alleged retaliatory investigation began

  on June 4, 2018. ECF No. 32, ¶ 31. However, Plaintiff concedes he continued to exercise his free

  speech rights by criticizing Gretsas and the City in May and July 2019 – long after the alleged

  retaliatory actions. ECF No. 32, ¶¶ 27–28. It cannot be disputed—based on the allegations of the

  Complaint—that Plaintiff’s speech occurred after the launch of the (alleged) retaliatory

  investigation. Thus, there are no facts supporting the allegations that the Detectives’ “retaliatory

  actions” would chill the exercise of free speech, as the Complaint is replete with allegations that

  Plaintiff continued to exercise his First Amendment rights for years after the “clandestine

  investigation” started. Id. ¶¶ 61, 71; see also Tucker v. Fla. Dep’t of Transp., 678 F. App’x 893,


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  896 (11th Cir. 2017) (“Logic dictates that the protected conduct must precede the act

  of retaliation.”).

            Accordingly, absent any allegations of the detectives’ retaliatory motive or damages as a

  result of the detectives’ alleged actions, Plaintiff’s First Amendment claims against Defendants

  fail to state a cause of action pursuant to Rule 12(b)(6), Fla. R. Civ. P.

      II.      THE DETECTIVES ARE FURTHER ENTITLED TO DISMISSAL BASED
               UPON QUALIFIED IMMUNITY.

               a. The Qualified Immunity Standard.

            “Qualified immunity protects all but the plainly incompetent or those who knowingly

  violate the law.” Hope v. Pelzer, 536 U.S. 730, 752 (2002) (internal quotation marks omitted).

  “The purpose of this immunity is to allow government officials to carry out their discretionary

  duties without the fear of personal liability or harassing litigation . . . .” Lee v. Ferraro, 284 F.3d

  at 1194.

            To be entitled to qualified immunity, the defendant-public official must first show that he

  was acting within the scope of his discretionary authority when the alleged wrongful acts occurred.

  Lee, 284 F.3d at 1194. Once the defendant meets this burden, the burden shifts to plaintiff to

  establish both (1) that a constitutional right was violated and (2) that the constitutional right was

  clearly established at the time the official acted. Id.; Douglas Asphalt Co. v. Qore, Inc., 541 F.3d

  1269, 1273 (11th Cir. 2008). Clearly established law “should not be defined at a ‘high level of

  generality,’” but “must be ‘particularized’ to the facts of the case.” White v. Pauley, 137 S. Ct.

  548, 551-52 (2017) (quoting Ashcroft v. al-Kidd, 63 U.S. 731, 742 (2011)). If the plaintiff cannot

  establish either element, qualified immunity is appropriate. See Pearson v. Callahan, 555 U.S.

  223, 226 (2009).



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             b. The Detectives Acted in the Course and Scope of Their Discretionary Authority
                at All Times Alleged in the Complaint.

         “To establish that the challenged actions were within the scope of his discretionary

  authority, a defendant must show that those actions were (1) undertaken pursuant to the

  performance of his duties, and (2) within the scope of his authority.” Habert Int’l Inc. v. James,

  1567 F.3d 1271, 1282 (11th Cir. 1998). “In other words, ‘[w]e ask whether the government

  employee was (a) performing a legitimate job-related function (that is, pursuing a job-related goal),

  (b) through means that were within his power to utilize.’” Estate of Cummings v. Davenport, 906

  F.3d 932, 941 (11th Cir. 2018) (quoting Holloman ex rel. Holloman v. Harland, 370 F.3d 1252,

  1265 (11th Cir. 2004)). “In applying each prong of this test, we look to the general nature of the

  defendant’s action, temporarily putting aside the fact that it may have been committed for an

  unconstitutional purpose, in an unconstitutional manner, to an unconstitutional extent, or under

  constitutionally inappropriate circumstances.” Mikko v. City of Atlanta, 857 F.3d 1136, 1144 (11th

  Cir. 2017) (quoting Holloman, 370 F.3d at 1266).

         In the instant case, it is irrefutable that the detectives were acting within the scope of their

  discretionary authority during the events alleged. See Lee, 284 F.3d at 1194. Indeed, Plaintiff

  affirmatively alleges that Detective Rivera and Detective Mead acted within the scope of their

  employment. ECF No. 32, ¶ 24. The actions purportedly taken by the detectives – an investigation

  pursuant to their authority as law enforcement – irrefutably falls within their discretionary

  authority. Accordingly, the burden now shifts to Plaintiff to show that his allegations rise to a

  level reflecting a violation of clearly established law, which Plaintiff cannot do. Lee, 284 F.3d at

  1194 (discussing qualified immunity’s burden shifting standard).




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             c. Plaintiff Does Not Allege A Violation Of Clearly Established Law.

          “In this circuit, the law can be ‘clearly established’ for qualified immunity purposes only

  by decisions of the U.S. Supreme Court, Eleventh Circuit Court of Appeals, or the highest court

  of the state where the case arose.” Jenkins by Hall v. Talladega City Bd. of Educ., 115 F.3d 821,

  827 n.4 (11th Cir. 1997) (citing Hamilton v. Cannon, 80 F.3d 1525, 1532 n. 7 (11th Cir. 1996)).

  The Supreme Court has reiterated “the longstanding principle that ‘clearly established law” should

  not be defined ‘at a high level of generality.’” White, 137 S. Ct. at 551-52. Rather, “the clearly

  established law must be ‘particularized’ to the facts of the case.” Id. (quoting Anderson v.

  Creighton, 483 U.S. 635, 640 (1987)). Moreover, the question of clearly established law “turns on

  the law at the time of the incident, and “the district court must consider the law ‘in light of the

  specific context of the case, not as a broad general proposition . . . .’” Merricks v. Adkisson, 785

  F.3d 553, 559 (11th Cir. 2015) (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001). Thus, Plaintiff

  must point to a case from the U.S. Supreme Court, the Eleventh Circuit Court of Appeals, or the

  Florida Supreme Court “where an officer acting under similar circumstances was held to have

  violated the [First] Amendment.” See id. at 552; see also Post v. City of Fort Lauderdale, 7 F.3d

  1552, 1557 (11th Cir. 1993). Plaintiff, therefore, must identify on-point precedent prior to the

  events in question, which Plaintiff cannot do.

         The Eleventh Circuit has explicitly held that the “right to be free from a retaliatory

  investigation is not clearly established.” Rehberg v. Paulk, 611 F.3d 828, 850–51 (11th Cir.

  2010), aff’d, 566 U.S. 356 (2012) (reversing denial of motion to dismiss and finding investigators

  entitled to qualified immunity). “The Supreme Court has never defined retaliatory investigation,

  standing alone, as a constitutional tort, and neither has this Court.” Id. at 851 (citing Hartman v.




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  Moore, 547 U.S. 250, 262 n.9 (2006) (“No one here claims that simply conducting a retaliatory

  investigation with a view to promote a prosecution is a constitutional tort.”)). Moreover,

         The initiation of a criminal investigation in and of itself does not implicate a federal
         constitutional right. The Constitution does not require evidence of wrongdoing or
         reasonable suspicion of wrongdoing by a suspect before the government can begin
         investigating that suspect. No § 1983 liability can attach merely because the
         government initiated a criminal investigation.

  Rehberg, 611 F.3d at 850 (citing United States v. Aibejeris, 28 F.3d 97, 99 (11th Cir. 1994)). In

  the years since Rehberg, the Eleventh Circuit and district courts within the Eleventh Circuit, as

  recently as 2018, have reiterated this holding. See Thompson v. Hall, 426 F. App’x 855, 859 (11th

  Cir. 2011) (reversing district court’s denial of qualified immunity at motion to dismiss stage and

  holding law enforcement officers were entitled to qualified immunity for allegedly carrying out an

  investigation in retaliation for the plaintiff’s comments at a town hall meeting); Joyner v. City of

  Atlanta, No. 1:16-CV-1780-TWT-LTW, 2018 WL 1442931, at *6 (N.D. Ga. Feb. 23,

  2018), report and recommendation adopted, No. 1:16-CV-1780-TWT, 2018 WL 1427941 (N.D.

  Ga. Mar. 22, 2018) (awarding qualified immunity in First Amendment retaliatory investigation

  claim to officers because the plaintiff “cannot establish that his right to not be subjected to what

  he characterized as an unjustified investigation was clearly established”).          The Homestead

  Defendants have not located any subsequent authority to the contrary.

         Plaintiff’s claims against Detective Rivera and Detective Mead are explicitly based on a

  purported “retaliatory” investigation, which Plaintiff claims lacked a “lawful purpose.” ECF No.

  32, ¶¶ 60, 70. In light of the absence of clearly established law that an alleged, retaliatory

  investigation violates the First Amendment – and indeed, given the precedent recognizing the lack

  of such a constitutional tort (see Rehberg, 611 F.3d at 850; Thompson, 426 F. App’x at 859),




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   Detective Rivera and Detective Mead are entitled to qualified immunity, and the claims against

   them should therefore be dismissed with prejudice.

      III.      PLAINTIFF’S SECTION 1983 CLAIMS FAIL TO STATE A CAUSE OF
                ACTION.

                a. Plaintiff Has Not and Cannot State a Monell Claim Against the City.

                           1. The strict limitations on municipal liability under Section 1983.

             The Supreme Court has placed strict limitations on municipal liability under Section 1983.

   Grech v. Clayton Cty., 335 F.3d 1326, 1329 (11th Cir. 2003); Gold v. City of Miami, 151 F.3d

   1346, 1350 (11th Cir. 1993). To impose liability against the City, Plaintiff must demonstrate: (1)

   that his constitutional rights were violated, (2) that the City had a custom or policy that constituted

   deliberate indifference to those constitutional rights, and (3) that the policy or custom caused the

   violation. McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004); see also Sanchez v. Miami-

   Dade Cty., No. 07-21717, 2007 WL 1746190, at *3 (S.D. Fla. 2007) (stating “proof of ‘a single

   incident of unconstitutional activity’ cannot suffice under Monell to impose liability” on a

   municipality) (quoting City of Oklahoma v. Tuttle, 471 U.S. 808, 824 (1985)). These principles

   have long been recognized as a pleading requirement and failure to properly allege a custom or

   policy routinely results in dismissal. See, e.g., Vila v. Miami-Dade Cty., No. 14-21346, 2014 WL

   6976273, at *6 (S.D. Fla. Nov. 25, 2014); Perez v. City of Miami, No. 10-21179, 2011 WL 772858

   (S.D. Fla. Feb. 28, 2011); Andrade v. Miami-Dade Cty., No. 09-23220, 2011 WL 4345665, at *8

   (S.D. Fla. Sept. 16, 2011).

             A municipality may be held liable “only if such constitutional torts result from an official

   government policy, the actions of an official fairly deemed to represent government policy, or a

   custom or practice so pervasive and well-established that it assumes the force of law.” Denno v.

   School Bd. of Volusia Cty., 218 F.3d 1267, 1276 (11th Cir. 2000), cert. denied, 531 U.S. 958

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   (2000). To demonstrate a pervasive practice, a plaintiff must show a persistent and widespread

   practice with actual or constructive knowledge of such by the City’s governing board.

   Accordingly, without an official policy (which Plaintiff has not and cannot allege), a Monell claim

   cannot be demonstrated in the absence of other incidents involving factual situations that are

   substantially similar to the case at hand. Mercado v. City of Orlando, 407 F.3d 1152, 1161-62

   (11th Cir. 2005).

            Finally, even if a sufficient municipal policy, custom or practice is established, a plaintiff

   still has the substantial burden to demonstrate that the policy, custom or practice was the “moving

   force,” or “driving force” behind the plaintiff’s constitutional injury. Bd. of Cty. Comm’rs v.

   Brown, 520 U.S. 397, 405 (1997); McDowell, 392 F.3d at 1292. The Supreme Court has required

   that “rigorous standards of culpability and causation must be applied to ensure that the

   municipality is not held liable solely for the actions of its employee.” Brown, 520 U.S. at 405.

   “This high standard of proof is intentionally onerous for plaintiffs; imposing liability on a

   municipality without proof that a specific policy caused a particular violation would equate to

   subjecting the municipality to respondeat superior liability – a result never intended by section

   1983.”

                         2. Plaintiff’s Claim Against the City Fails under any Theory of Liability
                            Because There Is No Underlying Constitutional Violation.

            At the outset, Plaintiff cannot state a Section 1983 claim against the City because no

   underlying constitutional is alleged in Count V or otherwise occurred. McDowell v. Brown, 392

   F.3d 1283, 1289 (11th Cir. 2004) (noting the first element of a Monell claim is a violation of a

   constitutional right); Johnson v. Darnell, No. 1:17-CV-87-MW-GRJ, 2018 WL 3672759, at *9

   (N.D. Fla. July 13, 2018), report and recommendation adopted, No. 1:17CV87-MW/GRJ, 2018

   WL 3660356 (N.D. Fla. Aug. 2, 2018), aff’d, 781 F. App’x 961 (11th Cir. 2019) (granting motion

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   to dismiss because the plaintiff had “failed to establish the first element of a Monell claim because

   he has failed to show that his constitutional rights were violated”). Specifically, Count V is based

   on an alleged “custom and practice” of investigating Plaintiff. ECF No. 32, ¶ 108. As discussed,

   supra, there is no constitutional violation for the initiation of a criminal investigation, which the

   Eleventh Circuit has explicitly stated does not require evidence of wrongdoing to commence

   (contrary to Plaintiff’s claims). Rehberg, 611 F.3d at 850 (citing Aibejeris, 28 F.3d at 99). The

   mere claim that the City had a pattern and practice of improperly investigating Plaintiff lacks any

   underlying constitutional violation and, therefore, Plaintiff has failed to state a Monell claim

   against the City.

                         3.   Plaintiff’s Final Policymaker Claim Fails as a Matter of Law.

          Notwithstanding the absence of an underlying constitutional violation, Plaintiff has failed

   to state a final policymaker claim, to the extent this theory is alleged. “[W]hen execution of a

   government’s policy or custom, whether made by its lawmakers or by those whose edicts or acts

   may fairly be said to represent official policy, inflicts the injury th[en] the government as an entity

   is responsible under § 1983.” Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658,

   694 (1978). Under a final policymaker theory, “[m]unicipal liability attaches only where the

   decisionmaker possesses final authority to establish municipal policy with respect to the action

   ordered.” Pembaur v. City of Cincinnati, 475 U.S. 469, 481-83 (1986).

          “The mere delegation of authority to a subordinate to exercise discretion is not sufficient

   to give the subordinate policymaking authority. Rather, the delegation must be such that the

   subordinate’s discretionary decisions are not constrained by official policies and are not subject to

   review.” Mandel v. Doe, 888 F.2d 783, 792 (11th Cir. 1989) (citation omitted). The “Eleventh

   Circuit ‘has interpreted Monell’s policy or custom requirement to preclude § 1983 municipal


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   liability for a subordinate official’s decisions when the final policymaker delegates

   decisionmaking discretion to the subordinate, but retains the power to review the exercise of that

   discretion.’” Quinn v. Monroe Cty., 330 F.2d 1320, 1325 (11th Cir. 2003) (quoting Scala v. City

   of Winter Park, 116 F.3d 1396, 1399 (11th Cir. 1997)); see also Morro v. City of Birmingham, 117

   F.3d 508, 514 (11th Cir. 1997) (stating no final policy authority exists where the officials decision

   are subject to, or constrained by, “meaningful administrative review.”).

          Plaintiff claims that the City, “acting through its Manager, and possibly Chief and Council,

   created and ordered a custom of abuse, having the force and effect of law, which constituted and

   evinced deliberate indifference to Plaintiff’s constitutional rights.” ECF No. 32, ¶ 107. First,

   Plaintiff’s Complaint lacks any factual allegations whatsoever regarding what decision, action, or

   other affirmative steps the Chief of Police or the City Council took that would even resemble a

   municipal policy (as they cannot). Id., ¶¶ 95-111.

          Second, Plaintiff’s claim that Gretsas acted as a final policymaker is insufficient to

   establish that any of his alleged actions rise to the level of an official City custom or policy.

   Specifically, Plaintiff claims the “custom” established by Gretsas as a final policymaker was

   “investigating Plaintiff” – which Defendants have repeatedly shown herein is not a constitutional

   violation – and “communicating the improperly gathered information with a false narrative to harm

   Plaintiff[].” ECF No. 32, ¶ 108. The latter claim is clearly insufficient to establish a final

   policymaker action, as opposed to a mere claim based on respondeat superior, which is insufficient

   under Monell. Pembaur, 475 U.S. at 479-80 (acknowledging that municipal liability cannot be

   based on a theory of respondeat superior).

          The requirement of an official policy or custom is “intended to distinguish acts of

   the municipality from acts of employees of the municipality, and thereby make clear that municipal


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   liability is limited to action for which the municipality is actually responsible.” Grech, 335 F.3d at

   1329 n. 5 (emphasis in original) (internal citations and quotations omitted). Indeed, Plaintiff

   conflates the concepts of “final policymaking” with “decision making.” The former requires that

   an individual’s actions function as final policy “only if his decisions have legal effect without

   further action by the governing body . . . and if the governing body lacks the power to reverse the

   member or employee’s decision.” Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1292

   (11th Cir. 2004) (internal quotation marks and citations omitted). “The ‘decisionmaker’ inquiry

   addresses who has the power to make official decisions and, thus, be held individually liable.

   Quinn v. Monroe Cty., 330 F.3d 1320, 1326 (11th Cir. 2003) (“While the [county] manager should

   not be able to create municipal liability when violating official policy, he should not be able to

   elude individual liability for his own unlawful actions”); S. Atl. Companies, LLC v. Sch. Bd. of

   Orange Cty., Fla., 699 F. App'x 842, 846 (11th Cir. 2017) (holding the general counsel’s alleged

   decision-making authority over settlements and assignments was not plenipotentiary and,

   therefore, the final policymaker failed to state a claim).

          Plaintiff’s “improper communication” theory is essentially that Gretsas shared information

   about Plaintiff to individuals within the City (ECF No. 32, ¶ 53) and third parties. ECF No. 32 ¶¶

   46-54. Clearly, mere communications with others (within the City or otherwise) does not rise to

   the level of a municipal custom or policy, but merely a discretionary decision exercised by Gretsas,

   for which Monell liability cannot be established. Indeed, if the mere exercise of discretion by an

   employee about who they speak to or the content of that speech could give rise to a constitutional

   violation, the result would be indistinguishable from respondeat superior liability. City of St.

   Louis v. Praprotnik, 485 U.S. 112, 126 (1988) (discussing final policymaking analysis in First

   Amendment retaliation claim against municipality). Indeed one employee’s communications to


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   third-parties regarding another individual are clearly not municipal policies.           Accordingly,

   Plaintiff’s final policymaker theory fails as a matter of law.

                        4.   Plaintiff Has Otherwise Failed to Allege a Sufficient Theory of Liability
                             Under Monell.

          Although Count V appears to be based on a final policymaker theory of Monell liability,

   to the extent Plaintiff’s claim could construed as based on a purported, unofficial pattern and

   practice theory, this cause of action also fails. See ECF No. 32, ¶¶ 95-111. In addition to Plaintiff’s

   failure to allege an underlying constitutional violation, he fails to meet the stringent standard of

   pleading a Monell claim (as did his prior Section 1983 claims against the City).

          Specifically, Plaintiff has failed to allege the requirement widespread practice under

   Monell. Indeed, a plaintiff’s own, allegedly unconstitutional events are insufficient to establish a

   persistent and widespread practice. Asia v. City of Miami Gardens, No. 14-civ20117, 2016 WL

   739656, at *8 (S.D. Fla. Feb. 25, 2016); Wakefield v. City of Pembroke Pines, 269 F. App’x 936,

   940 (11th Cir. 2008) (finding the plaintiff’s own alleged events with police officers insufficient to

   show a pattern or practice).   To sufficiently demonstrate a custom or practice that “assumes the

   force of law,” Plaintiff must provide proof of “other incidents involving factual situations that are

   substantially similar to the case at hand.” Mercado v. City of Orlando, 407 F.3d 1152, 1161–62

   (11th Cir. 2005) (emphasis added). Proof of random acts or isolated incidents will not suffice. See

   Sanchez v. Miami-Dade Cty., 2007 WL 1746190, at *3 (S.D. Fla. 2007) (stating that “proof of ‘a

   single incident of unconstitutional activity’ cannot suffice under Monell to impose liability” on a

   municipality). Moreover, these past, similar incidents must have been actual constitutional

   violations, rather than just complaints of misconduct. Brooks v. Scheib, 813 F.2d 1191, 1193 (11th

   Cir. 1987) (“Indeed, the number of complaints bears no relation to their validity.”); Asia, 2016 WL

   739656, at *8 (“Plaintiff has failed to present any evidence of prior incidents of constitutional

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   injuries similar to his, and his own experience with the City's police officers is insufficient to

   establish a custom or practice.”).

          Plaintiff appears to make a futile and cursory effort to satisfy this requirement (which is

   wholly insufficient) by stating that the City’s

          custom and pattern is further elucidated by similar violations of constitutional rights
          with regard to William Rea, Eric[] and Vanessa McDonough, and Ednamarie
          Hernandez, which are more fully alleged in the original Complaint in this matter
          and in separate legal actions brought by them against the various Defendants named
          herein. In each described case, the City, by and through its ex-manager Gretsas
          and/or Chief Rolle and Council, and their subordinates, retaliated against various
          Plaintiffs for their exercise of First Amendment Rights.

   ECF No. 32, ¶ 110. However, references to prior, unsubstantiated allegations of improper conduct,

   including references to William Rea, Eric and Vanessa McDonough and Ednamarie Hernandez

   (all of who are represented by Plaintiff’s same attorney and all of whom have likewise made

   unsubstantiated claims) “are also insufficient on their own to establish a ‘persistent and

   widespread practice’ in [a municipal entity] as a whole.” Asia, 2016 WL 739656, at *8 (emphasis

   added) (discussing Monell claims based on use of force).

          In addition, Plaintiff’s original Complaint in this matter was dismissed as a shotgun

   pleading [ECF Nos. 1, 31], as was at least one other pleading referenced in Plaintiff’s allegation,

   namely, the complaint filed by Plaintiff, William Rea. 4 Neither Defendants nor, more importantly,

   the Court should be expected to rifle through allegations previously dismissed as non-compliant

   with the federal pleading standard like a truffle-hunting pig. United States v. Dunkel, 927 F.2d

   955, 956 (7th Cir. 1991) (“Judges are not like pigs, hunting for truffles buried in briefs.”). Vague

   references to claims previously dismissed in both this action and others are wholly insufficient to

   meet the strict requirement that Plaintiff allege other, factually similar incidents to show a


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          See William Rea, et al. v. City of Homestead et al., Case No. 21-cv-20488-KMM, ECF No.
   36.
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   widespread custom or practice. Mercado, 407 F.3d at 1161–62 (emphasis added). Accordingly,

   Count V wholly fails to state a claim on any theory of Monell liability.

          WHEREFORE, Defendants, City of Homestead, Detective Tom Mead, and Detective

   Ricky Rivera request that the Court grant this Motion, dismiss the Second Amended Complaint

   with prejudice [ECF No. 32], and award any further relief that the Court deems just and proper.

   Dated: August 23, 2021                         Respectfully submitted,

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